Case 1:17-cv-01407-LO-TCB Document 8 Filed 02/20/18 Page 1 of 2 PagelD# 23

IN THE U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA

Maria Rosibel Nolasco *
Plaintiff *
v. * Case No.: 1:17-cv-01407-LO-TCB
Huong Binh Foods, Inc., et al. *
Defendants *
* * * * * *

JOINT MOTION FOR APPROVAL OF FLSA SETTLEMENT

Plaintiff, Ms. Maria Rosibel Nolasco, together with Defendants, Huong Binh
Foods, Inc. and Mr. Quang Le (“Defendants”), respectfully request that the Court
approve a settlement agreement that the parties have reached concerning Plaintiff's
lawsuit seeking overtime under the Fair Labor Standards Act, 29 U.S.C. § 207. The
Parties seek Court approval of this Agreement because claims under the FLSA, like those
released by the Plaintiff in the Settlement Agreement that all parties have entered into,
may not be waived or released without U.S. Department of Labor or Court approval.

Respectfully submitted,

Led Ge ™

/s/ (signed with permission}

 

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Case 1:17-cv-01407-LO-TCB Document 8 Filed 02/20/18 Page 2 of 2 PagelD# 24

CERTIFICATE OF SERVICE
I hereby certify that on this day of 20° day of February, 2018, a copy of the
foregoing Joint Motion for Approval of FLSA Settlement, was filed via with the Clerk of
the Court for the U.S. District Court for the Eastern District of Virginia using the
CM/ECF system, which will then send a notification of such filing (NEF) to the
following:
Nicholas Cooper Marritz, Esquire
Legal Aid Justice Center

6066 Leesburg Pike, Suite 520
Falls Church, Virginia 22041

/s/ Howard B. Hoffman
Howard B. Hoffman

 
